The relief described hereinbelow is SO ORDERED.

SIGNED this 20th day of September, 2023.

                     IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS

IN RE:                                   )
                                         )
BRIAN LEE EHRLICH,                       )     Case No. 22-21183-RDB
                                         )     Chapter 13
 ________________________________________________________________________
                       DEBTOR.           )

  AGREED ORDER RESOLVING OBJECTION TO CONFIRMATION OF DEBTOR’s
              CHAPTER 13 PLAN BY JENNY ANN EHRLICH

         COMES NOW debtor, Brian Lee Ehrlich, by and through his attorney, Colin N. Gotham
of Evans & Mullinix, P.A., and creditor, Jenny Ann Ehrlich by and through her attorney, Ryan
A. Blay of WM Law, and hereby agree to the following:
    1. The debtor owes creditor Jenny Ann Ehrlich a secured debt of $109,590.00.
    2. The debtor shall pay the secured debt directly to Ms. Ehrlich.
    3. The Debtor shall pay $100,000.00 within fifteen (15) days of the entry of this Order and
         the remaining $9,590.00 on or before November 15, 2023.
    4. Jenny Ann Ehrlich shall retain the $2,425 as interest that she has received from
         distributions from the Chapter 13 Trustee’s Office. The Chapter 13 Trustee shall not
         make any future distributions to Jenny Ann Ehrlich until further Order of the Court.
    5. Debtor may borrow the funds from his father as previously granted by the Court or a
         withdraw from his retirement accounts.
    6. All other disputes of the parties shall be resolved as part of the Debtor’s objection to Ms.
         Ehrlich’s claims.
    7. The payment of $109,590.00 shall satisfy the claim of Jenny Ann Ehrlich to the Debtor’s
         Homestead located at 2265 North 100th Road Wellsville, KS 66092.
         IS THEREFORE BY THE COURT ORDERED that the Objection to Confirmation
filed    by    creditor,     Jenny   Ann   Ehrlich     is   hereby    denied   as    settled,   and



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       IT IS FURTHER ORDERED that the debtor shall remit $100,000.00 within fifteen (15)
days of the entry of this Order and the remaining $9,590.00 on or before November 15, 2023.
       IT IS FURTHER ORDERED that all other disputes between the parties shall be
resolved as part of the Debtor’s objections to Jenny Ann Ehrlich’s claims.


                                              ###
Submitted and approved by:

EVANS & MULLINIX, P.A.

/s/ Colin N. Gotham
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OFFICE OF THE CHAPTER 13 TRUSTEE

/s/ William H. Griffin
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Chapter 13 Trustee




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